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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA

  RUMBLE, INC.,

       Plaintiff,
  v.                                                        Case No. 8:23-CV-02718-CEH
  NANDINI JAMMI, CLAIRE ATKIN,
  AND JOHN DOE NOS. 1-10,

        Defendants.
  ___________________________


           DECLARATION OF JOHN M. BROWNING IN OPPOSITION TO
                        RUMBLE’S 56(D) MOTION

           1.        I, John M. Browning, being of lawful age and otherwise competent to

  testify in a court of law, hereby declare pursuant to 28 U.S.C. §1746 and under penalty

  of perjury that the following is true and correct:

           2.        I am an attorney duly admitted to practice law before this Court pro hac

  vice and a partner of Davis Wright Tremaine LLP, counsel for Defendants Nandini

  Jammi and Claire Atkin (“Defendants”) in the above-captioned action. I submit this

  declaration in opposition to Plaintiff Rumble’s 56(d) motion for additional discovery,

  to strike notice of withdrawal and to set case management conference. Except as

  otherwise indicated, I make this declaration based on discovery in this case, as

  referenced by citation, or my personal knowledge.

           3.        Annexed hereto as Exhibit A is a true and correct copy of the Transcript

  of Oral Argument on Defendants’ Motion to Dismiss held on November 8, 2024.




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           4.        Annexed hereto as Exhibit B is a true and correct copy of Defendant

  Atkin’s Responses and Objections to Rumble’s Request for Production dated July 1,

  2024.

           5.        Annexed hereto as Exhibit C is a true and correct copy of Defendant

  Atkin’s Responses and Objections to Rumble’s First Amended Responses and

  Objections to Rumble’s First Set of Interrogatories dated July 5, 2024.

           6.        Annexed hereto as Exhibit D is a true and correct copy of Defendants

  Jammi’s Responses and Objections to Rumble’s Request for Production dated July 1,

  2024.

           7.        Annexed hereto as Exhibit E is a true and correct copy of Defendant

  Jammi’s Responses and Objections to Rumble’s Second Amended Responses and

  Objections to Rumble’s First Set of Interrogatories dated February 26, 2025.

           8.        Annexed hereto as Exhibit F is a true and correct copy of Defendant’s

  Response to Rumble’s Deficiency Letter dated July 31, 2024.

           9.        Annexed hereto as Exhibit G is a true and correct copy of the

  transcript of the Deposition of Rachel Gilmore taken on February 4, 2025.

           10.       Annexed hereto as Exhibit H is a true and correct copy of the transcript

  of the Deposition of Alec D’Angelo taken on February 7, 2025.

           11.       Annexed hereto as Exhibit I is a true and correct copy of the transcript

  of the Deposition of Brandon Hardin taken on February 19, 2025.




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           12.       Annexed hereto as Exhibit J is a true and correct copy of email

  correspondence between counsel for the parties regarding discovery between March

  10, 2025 and March 24, 2025.

           13.       Annexed hereto as Exhibit K is a true and correct copy of email

  correspondence between counsel for the parties regarding discovery between February

  3, 2025 and February 28, 2025.

           14.       Annexed hereto as Exhibit L is a true and correct copy of an email

  automatically generated by the Notion platform, which produced in this action on

  January 10, 2025 as DEFENDANTS001613.

           15.       Annexed hereto as Exhibit M is a true and correct copy of Rumble’s

  Subpoena to Dewey Square Group, LLC dated July 24, 2024.

           16.       Annexed hereto as Exhibit N is a true and correct copy of Rumble’s

  Subpoena to Media Matters for America dated September 9, 2024.

           17.       Annexed hereto as Exhibit O is a true and correct copy of relevant

  portions of email correspondence between counsel for Rumble and Dewey Square

  Group.

           18.       Annexed hereto as Exhibit P is a true and correct copy of email

  correspondence between counsel for the parties regarding discovery January 21, 2025

  and January 30, 2025.

           19.       Defendants produced 1,745 pages of documents on January 10, 2025

  followed by productions on February 3, February 17 and March 14, 2025 – altogether



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  totaling 3,106 pages of documents that include drafts of October 24, 2023 article and

  non-privileged communications concerning Rumble’s economic reliance on Google.

           20.       Rumble has produced 149 documents in this action. Approximately 53

  of those documents are copies of its publicly available SEC filings or publications by

  Defendants or Check My Ads.

           21.       During the February 7, 2025 deposition of Alec D’Angelo, counsel for

  Rumble informed me that Rumble’s forthcoming document production had been

  delayed due to unspecified technical issues. Counsel for Rumble told me the same

  thing in response to an inquiry during the February 19, 2025 deposition of Brandon

  Hardin. Rumble ultimately made its production after Rumble’s February 21, 2025

  30(b)(6) deposition.

           I declare under penalty of perjury under the laws of the United States of

  America that the foregoing is true and correct to the best of my knowledge and belief.

           Executed this 24th day of March, 2025, in New York.




                                                           _                ____
                                                           JOHN M. BROWNING




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  Dated: March 24, 2025

                                    Respectfully submitted,

                                    SHULLMAN FUGATE PLLC

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